USCA4 Case
      Appeal: 20-7377    Doc: 8
           3:17-cr-00008-NKM-JCH  Filed: 12/03/2020
                                 Document             Pg: 1 of 1Page 1 of 1 Pageid#: 647
                                           160 Filed 12/04/20


                                                                FILED: December 3, 2020

                           UNITED STATES COURT OF APPEALS
                               FOR THE FOURTH CIRCUIT

                                     ___________________

                                           No. 20-7377
                                  (3:17-cr-00008-NKM-JCH-1)
                                     ___________________

        UNITED STATES OF AMERICA

                     Plaintiff - Appellee

        v.

        JERMEL ANTHONY COLEMAN

                     Defendant - Appellant

                                     ___________________

                                          ORDER
                                     ___________________

              The court dismisses this proceeding for failure to prosecute pursuant to

        Local Rule 45.

                                              For the Court--By Direction

                                              /s/ Patricia S. Connor, Clerk
